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                         STATE GRAND JURY OF SOUTH CAROLINA                                    NOV 1 5 2017
                                                                                             JAMES R. PARKS
                                                                                          CLERK, STATE GRAND JURY
STATE OF SOUTH CAROLINA                          )       Case No. 2017-GS-47-50
                                                 )
                                                 )
                v.                               )   INDICTMENT FOR EMBEZZLEMENT

                                                 )
                                                 )
BRANTLEY D. THOMAS, III                          )
                                                 )
                          Defendant.             )
                                                 )

       At a session of the State Grand Jury of South Carolina, convened at Columbia


South Carolina on November 15, 2017, the State Grand Jurors present their oath:




                                                COUNT I
                                          EMBEZZLEMENT
                                    S.C. Code Ann. §16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about November 3

2010 while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more


($10,000) of those public funds, with the intention to defraud the Berkeley County School


District, to wit:


        THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $26,743.31 of

public school funds, by obtaining a cashier's check for that amount drawn on the Berkeley


County School District General Fund and made out to the servicer of THOMAS'S personal




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credit card account, and then applying that check as payment on his personal credit card

account.


         All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection


with a crime involving public corruption and such conduct having not been authorized by

law.

         Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                              COUNT II
                                        EMBEZZLEMENT
                                   S.C. Code Ann. §16-13-210


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about September 24,

2008, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did cause approximately $31,956.12 of public school funds to be

withdrawn from a Berkeley County School District investment account, whereby the funds

were then converted to his personal use in the form of payment on one of THOMAS'S

credit card accounts.




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        All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                              COUNT III
                                          EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about November 29,

2007, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $22,700.00 of

public school funds, by deliberately causing the Berkeley County School District to

overpay a vendor, and then having the vendor send a refund of the overpayment to his

home address, upon which the funds were converted to his personal use.

        All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection




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with a crime involving public corruption and such conduct having not been authorized by

law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                              COUNT IV
                                        EMBEZZLEMENT
                                   S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about November 20,

2007, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:


         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $11,602.16 of

public school funds, by causing the Berkeley County School District to route money that

supposedly was for payment on a school district line of credit instead to his personal

checking account.

         All in violation of section 16-13-210 of the South Carolina Code of Laws, as


amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.




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      Against the peace and dignity of this State and contrary to the law in such case

made and provided.




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                                          FOREPERSON




ALAN WILSON (sew)
ATTORNEY GENERAL




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                        STATE GRAND JURY OF SOUTH CAROLINA



STATE OF SOUTH CAROLINA                         )       Case No. 2017-GS-47-31
                                                )
                                                )            SUPERSEDING
               v.                               )    INDICTMENT FOR EMBEZZLEMENT
                                                )      (TEN COUNTS) AND FORGERY
                                                )
BRANTLEY D. THOMAS, III                         )
                                                )
                         Defendant.             )
                                                )

         At a session of the State Grand Jury of South Carolina, convened at Columbia

South Carolina on October 17, 2017, the State Grand Jurors present their oath:




                                               COUNT I
                                        EMBEZZLEMENT
                                   S.C. Code Ann. § 16-13-210


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about July 9, 2004

while THOMAS was responsible for the safekeeping, transfer and disbursement of public

funds, did embezzle and convert to his own use ten thousand dollars or more ($10,000) of

those public funds, with the intention to defraud the Berkeley County School District, to

wit:


         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did cause approximately $89,900.00 of public school funds to be

wired from a Berkeley County School District account directly into a personal bank

account belonging to THOMAS and another person, whereby the funds were then




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converted to personal use. This occurred at a time when THOMAS and the other person

were actively in the process of purchasing a lot and building a house in the Tanner Hall

neighborhood of Hanahan, South Carolina.

         All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


         Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                               COUNT II
                                         EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about November 28

2005, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

         THOMAS, while serving in his capacity as a financial officer for the Berkeley


County School District, did cause approximately $39,452.31 of public school funds to be

wired from a Berkeley County School District account directly into a personal bank

account belonging to THOMAS and another person, whereby the funds were then




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converted to personal use. This occurred around a time when the account of THOMAS

and the other person started its bank statement cycle with only a $61 balance - and that

merely represented the remainder of earlier overdraft protection advance.

         All in violation of section 16-13-210 of the South Carolina Code of Laws, as


amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


         Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                               COUNT III
                                         EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about December 2,

201 1 , while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:


         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $26,743.31 of

public school funds, by causing the Berkeley County School District to route a check, that

supposedly was made out to pay a legitimate vendor, instead to THOMAS'S credit card




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servicer for payment on his personal account.

         All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


         Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                             COUNT IV
                                            FORGERY
                                  S.C. Code Ann. § 16-13-10


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about December 1,

2011, did wilfully, unlawfully, and feloniously, falsely make, forge, or counterfeit any

writing or instrument of writing; and did cause or procure to be falsely made, forged, or

counterfeited any writing or instrument of writing; and did wilfully act or assist in the false

making, forging, or counterfeiting of any writing or instrument of writing; and did utter or

publish as true any false, forged, or counterfeited writing or instrument of writing; and did

willingly act or assist in any of the above, with an intention to defraud any person; to wit:

         While serving in his capacity as a financial officer for the Berkeley County School


District, THOMAS forged an invoice so that it appeared to be from a legitimate school

district vendor, when in fact it instead had the payment address for the servicer of

THOMAS'S personal credit card account.            THOMAS thus caused the Berkeley County




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School District to make a payment from public school funds on THOMAS'S personal credit

card account in an amount of five thousand dollars or more, and indeed an amount of

approximately $26,743.31 .

        All in violation of section 16-13-10 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                               COUNT V
                                         EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about March 10,

2012, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

        THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $31,176.50 of

public school funds, by causing the Berkeley County School District to route a check that

supposedly was for payment to a legitimate school district vendor instead to his credit




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card servicer for payment on his personal account.

         All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


         Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                           COUNT VI
                                      EMBEZZLEMENT
                                 S.C. Code Ann. § 16-13-210


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about April 6, 2012,

while THOMAS was responsible for the safekeeping, transfer and disbursement of public

funds, did embezzle and convert to his own use ten thousand dollars or more ($1 0,000) of

those public funds, with the intention to defraud the Berkeley County School District, to

wit:


         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $21,288.23 of

public school funds, by causing the Berkeley County School District to route a check that

supposedly was for payment to a legitimate school district vendor instead to his credit

card servicer for payment on his personal account.

         All in violation of section 16-13-210 of the South Carolina Code of Laws, as




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amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                              COUNT VII
                                         EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about September 11,

2001 , while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use less than ten thousand dollars

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

        THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $8,318.24 of public

school funds, by causing the Berkeley County School District to issue a payment that

supposedly was for a "REFUND TO USC", but instead was applied for payment on his

personal credit card account.


        All in violation of section 16-13-210 of the South Carolina Code of Laws, as


amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by




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law.


         Against the peace and dignity of this State and contrary to the law in such case


made and provided.




                                           COUNT VIII
                                       EMBEZZLEMENT
                                 S.C. Code Ann. § 16-13-210


         That BRANTLEY D. THOMAS, III, in Berkeley County, on or about July 20, 2004,

while THOMAS was responsible for the safekeeping, transfer and disbursement of public

funds, did embezzle and convert to his own use less than ten thousand dollars ($10,000)

of those public funds, with the intention to defraud the Berkeley County School District, to

wit:


         THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $9,558.42 of public

school funds, by causing the Berkeley County School District to issue a payment that

supposedly was for Medicaid, but instead was deposited into his personal checking

account. This occurred at a time when THOMAS and another person were actively in the

process of purchasing a lot and building a house in the Tanner Hall neighborhood of

Hanahan, South Carolina.


         All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by




                 Eleven Count Indictment of Brantley Thomas, III on October 17, 2017
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law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                              COUNT IX
                                         EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about September 26,


2005, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use less than ten thousand dollars

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

        THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $3,771.25 of public

school funds, by causing the Berkeley County School District to issue a payment that

supposedly was for an administrative fee to Wachovia, but instead was deposited into his

personal checking account.


        All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.




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        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




                                               COUNT X
                                          EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about December 4,

2009, while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:


        THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $36,934.50 of

public school funds, by causing the Berkeley County School District to issue a payment

that supposedly was for an "Auto-Renewal", but instead was applied for payment on his

personal credit card account.

        All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection

with a crime involving public corruption and such conduct having not been authorized by

law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




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                                               COUNT XI
                                          EMBEZZLEMENT
                                    S.C. Code Ann. § 16-13-210


        That BRANTLEY D. THOMAS, III, in Berkeley County, on or about February 2,

201 1 , while THOMAS was responsible for the safekeeping, transfer and disbursement of

public funds, did embezzle and convert to his own use ten thousand dollars or more

($10,000) of those public funds, with the intention to defraud the Berkeley County School

District, to wit:

        THOMAS, while serving in his capacity as a financial officer for the Berkeley

County School District, did convert to his personal use approximately $98,349.00 of

public school funds, by causing the Berkeley County School District to issue "3 Chks" for

$32,783.00 each, that supposedly were for an "Additional Architect Fee" for Cane Bay

Middle School, when instead he stole the entire $98,349.00 by applying the checks as

payment on his personal credit card account.

        All in violation of section 16-13-210 of the South Carolina Code of Laws, as

amended; and such conduct involving public corruption or arising out of or in connection


with a crime involving public corruption and such conduct having not been authorized by

law.


        Against the peace and dignity of this State and contrary to the law in such case

made and provided.




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                                         FOREPERSON




ALAN WILSON (sew)
ATTORNEY GENERAL




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